James F. Oates, Petitioner, v. Commissioner of Internal Revenue, Respondent.  Estate of Ralph H. Hobart, Deceased, John H. Hobart, Executor, Petitioner, v. Commissioner of Internal Revenue, RespondentOates v. CommissionerDocket Nos. 27396, 27397United States Tax Court18 T.C. 570; 1952 U.S. Tax Ct. LEXIS 162; June 20, 1952, Promulgated *162 Decisions will be entered under Rule 50.  Petitioners were for a good many years general agents of Northwestern Mutual Life Insurance Company.  Following their retirement as general agents they were entitled to receive certain commissions on renewal premiums. At the time of their retirement on April 27, 1944, they had the right to elect either to receive these commissions in cash in the same years as they were paid to the company or they could elect to amend their contracts and receive them in monthly installments over a period of not to exceed 180 months.  An election when once made was irrevocable.  Petitioners when they retired elected to have their contract amended so they would each receive $ 1,000 a month for a period not to exceed 180 months.  They did receive this $ 1,000 a month in each of the taxable years.  These amounts petitioners have returned as taxable income.  The Commissioner has added to their income in each taxable year renewal commissions which were credited to their accounts by Northwestern on its books but which petitioners did not receive and could not receive in the taxable years.  Held, petitioners being on the cash basis are taxable only on the amounts*163  which they actually received in each of the taxable years and are not taxable on the commissions credited to their accounts which they did not receive and are not entitled to receive under their contract until some future year.  J. Gilmer Korner, Jr., Esq., Stanley Worth, Esq., Robert H. Kinderman, Esq., and Ray Garrett, Esq., for the petitioners.William Schwerdtfeger, Esq., for the respondent.  Black, Judge.  BLACK *570  The respondent determined*164  deficiencies in petitioners' income tax for the calendar years 1944, 1945, and 1946, as follows:YearDocket No. 27396Docket No. 273971944$ 11,368.41$ 12,551.54194520,256.3023,339.16194612,324.2113,768.74The petitioners, who as partners were engaged in the life insurance business as general agents, retired in April 1944.  The deficiencies result primarily from the inclusion in the income of each petitioner terminal commissions, the receipt of which was deferred until subsequent taxable years under an amendment to their former contract which was executed prior to their retirement. The issue is whether these commissions were income to petitioners during the taxable years, though they did not actually receive them.  There are some minor adjustments which are not contested.  The adjustments which are in *571  issue are illustrated in Docket No. 27396 by adjustment (a) to the net income as disclosed in the income tax return of James F. Oates for the year 1944.  This adjustment is explained in the deficiency notice, as follows:(a) It is held that 50% of the renewal commissions credited to the Fund of Hobart and Oates on the books of The Northwestern*165  Mutual Life Insurance Company of Milwaukee, Wisconsin during the year 1944, as the result of payment by the insured of renewal premiums on policies written on applications previously procured by its general agents, Ralph H. Hobart and James F. Oates, are taxable to you in 1944.  This is in accordance with the provisions of sections 22 (a) and 42 of the Internal Revenue Code.  It is further held that the so-called Amendment of April 27, 1944 to your general agent's contract, which is an authorization to the insurance company to remit to you after retirement such renewal commissions as you may be entitled to under that contract, in a certain manner, has no effect on the taxability of such income.Accordingly your gross renewal commissions from The Northwestern Mutual Life Insurance Company have been increased $ 16,587.49 which is 50% of $ 33,174.98 balance in the Fund of Hobart and Oates as of December 31, 1944, exclusive of interest.A similar adjustment for the year 1944 is in issue in Docket No. 27397, estate of Ralph H. Hobart, deceased.  Also similar adjustments are in issue in both docket numbers for the taxable years 1945 and 1946.Petitioners by appropriate assignments of *166  error contest the correctness of these adjustments.  Inasmuch as both proceedings involve a common issue, they have been consolidated.FINDINGS OF FACT.James F. Oates and Ralph H. Hobart prepared their Federal income tax returns for the calendar years 1944, 1945, and 1946 on a cash receipts and disbursements basis.  These returns were filed with the collector of the first district of Illinois.Petitioner James F. Oates is an individual residing in Evanston, Illinois.  Ralph H. Hobart died on December 29, 1949, and the other petitioner in this proceeding is the estate of Ralph H. Hobart, deceased.  The duly qualified and acting executor of decedent's estate is John H. Hobart of Winnetka, Illinois.  For the sake of convenience Oates and the decedent are referred to herein as the petitioners.On January 1, 1911, petitioners formed a partnership which operated as a general insurance agency in Chicago under the name of Hobart &amp; Oates.  The petitioners shared equally in partnership profits.  The partnership, as a general agent of Northwestern Mutual Life Insurance Company of Milwaukee, Wisconsin, 1 was engaged in the business of soliciting applications for life insurance and servicing *167  of life insurance policies.*572  In 1928, petitioners and Northwestern executed a general agency contract which continued in effect without amendment until a short time prior to petitioners' retirement. This contract was more or less a standard one, being used by Northwestern and most of its general agents.  The contract provided that petitioners were independent contractors and that they were not employees of Northwestern.  The general agents of Northwestern are the field representatives of the insurance company.  The general agent establishes and maintains his own office at his own expense, hires his own employees, and supervises the work of the subagents. He is a combination of salesman, sales manager, businessman, and general manager of the area covered by his agency.The general agent's income is received primarily from three sources.  First, to the extent that he personally sells insurance, the commissions on those sales*168  constitute income to him.  Second, fees are received for collecting premiums on and servicing policies written by other general agents.  His third and main source of income is from a so-called "margin" or "overriding commission." Usually a general agent has subagents working for him writing insurance policies.  A subagent receives the major portion of the commission computed on the premium paid on that policy while the remainder of such commission goes to the general agent as his "overriding commission."The general agency contract sets forth the fees and commissions that the general agent was entitled to, and the amount of those commissions depended not only upon the amount paid as the initial premium on the policy but also upon renewal premiums on the policies paid during the next succeeding 9 years.  The schedule of commissions as contained in the general agency contract provided various rates of commissions for the different policies written by the general agent. An example of the operation of the commission is the ordinary life insurance policy, where the general agent is entitled to 55 per cent of the first year's premium and 7 1/2 per cent of the renewal premiums for each *169  year, second to tenth, both inclusive.  Of the first year's premium the general agent would retain 55 per cent, with the balance of that premium being remitted to Northwestern.  In many instances, 5 per cent of the first year's premium would be retained by the general agent and the balance of the commission, or 50 per cent of the first year's premium, would be paid to a subagent. Then, in the ensuing 9 years if the renewal premiums were paid, the general agent was entitled to a commission of 7 1/2 per cent of the premium. Of this commission on renewal premiums the general agent might retain 2 1/2 per cent as his margin and pay 5 per cent to the subagent who made the sale.  On all but single premium and 5-year premium policies Hobart &amp; Oates was entitled to a percentage of the renewal premiums *573  during the period from the second through the tenth year of the policy.The premiums on life insurance are collected from the policyholder by a going general agent. From the premiums collected on policies written by him, the general agent deducts the commission due him under the contract and remits the net balance to the Company.  From the premiums collected on policies not written*170  by him, the general agent deducts a collection fee or service charge as provided under the agency contract and he remits the balance to the Company.  When the general agent has retired, the premiums on business written by him are received from the policyholder by his successor general agent.After retirement, the general agent receives his commissions on renewal premiums from the Company and not from the successor general agent.The agency contract provided that upon retirement the general agents were to receive commissions on renewal premiums as they were earned during the 9-year period following the date of retirement, with provision for reduced payments under certain retirement conditions not applicable to the petitioners herein.  Under the contract the general agent would receive a comparatively large amount of commissions on renewal premiums during the first year of his retirement, with a decrease in each year thereafter, until at the end of the ninth year of retirement he would no longer be entitled to any payments.  The decline in commissions earned in each successive year after retirement is rapid for two reasons.  First, the general agent during his first year of retirement*171  receives commissions from policies written during the 9 years previous to retirement, and during the second year of retirement commissions are received only on the policies written during the 8 years previous to retirement and so on until the ninth year of retirement when the retired general agent receives commissions from only the policies written during a single year, the year previous to his retirement. A second factor causing the yearly income from commissions to decline is called the persistency of renewals. Not all life insurance policies are renewed each year.  Policies may lapse because of the death of the insured or because the insured is financially unable to pay the premiums to keep the policy in force.The provisions of this standard contract form (providing for the payment of terminal commissions over a period of 9 years) had, prior to July 1939, caused considerable discontent and dissatisfaction among general agents.  There were 86 general agencies, some of which were partnerships and some of which were sole proprietorships.  Over a period of years of operation the experience of the general agents whose contracts had terminated under the standard form had proved that*172 *574  the operation of that contract, in respect of terminal commissions, had some serious defects; at least the general agents thought so.  Experience had shown that in many cases the retirement of a general agent came at a late period in his life and that as his income from renewal commissions under the standard contract rapidly decreased, and as he grew older, his capital and his income progressively decreased.In many cases the potential receipt of commissions during the years following their retirement constitutes the bulk of the estates and resources of such retired general agents and they look to that for their living after their retirement. This situation caused distress to some retired general agents and brought general conviction to general agents that the period of terminal commission payments under the existing contract was too short, that the portion of total payments received during the first 5 years after retirement was so large as to pose an investment problem which the general agents were not trained or qualified to solve and that the situation should be remedied in such a manner as to afford security for a period more nearly coincident with the life expectancy*173  of a general agent after retirement.The general agents of Northwestern have an association known as "General Agents' Association of the Northwestern Mutual Life Insurance Company." It has had a long existence.  It was organized to promote the best interests and welfare of the general agents and to treat with company officials upon matters of mutual interest to both general agents and the Company.  It holds regular annual conventions and, upon occasions, officials of Northwestern are invited to attend for discussion and advice on matters of common interest.The dissatisfaction and discontent of the general agents as to the methods of payment under the old contract had been growing prior to the association's annual convention in July 1939, and at that meeting the matter of the payment of these terminal commissions came up for discussion on the floor of the convention and, as a result thereof, the president of the association appointed a committee designated as the "Special Committee for the Conservation of General Agents' Estates." The purposes and functions of this special committee were to investigate the problems which were causing the dissatisfaction among the general agents and*174  to negotiate with and make recommendations to the Company looking to a solution and adjustment of those problems.The special committee began its work in July 1939, and conducted an investigation into this problem as it concerned all the general agents of the Company and sought to find a solution which would give greater protection and security in old age in all the varying circumstances under which these general agents were situated.  The problem was to seek a solution which would fit all these diverse situations.  *575  The general agents were located in all parts of the United States and the special committee sought to investigate each case.  During the period of over four years while it was conducting its investigations, the special committee was in informal and unofficial touch with officials of Northwestern (particularly the chief counsel and the director of agencies) and acquainted those officials with the result of the work of the special committee. Those Company officials assisted the committee in its work by furnishing it with information of like nature which had come to the attention of Northwestern and requested the special committee to find, and offer for the Company's*175  consideration, a possible solution to the problem.In October 1943, the special committee had completed its investigations and thereupon met officially with the officers of the Company and submitted its report and findings.  The committee reviewed the entire subject matter and pointed out the objections to the prevailing contract and requested the Company's officials to give consideration to an amendment to the contract with the general agents which would be more elastic and more adaptable to the circumstances and needs of the individual general agents.  The committee urged upon the Company's officials that an amendment should be devised which would give the greatest possible stability in security of income by leveling the potential payments of terminal commissions over a period more nearly in accord with the life expectancy of the retired general agent.During the conferences between the committee and the Company's officials, or later when the proposed amendment came on for discussion at the convention of the association, it was agreed that the amendment should provide that interest should be added to the amount ultimately to be paid under the amendment, computed at the rate currently*176  used by the Company (2 per cent) in computing the purchase price of immediate life annuities.  This rate would be about 60 per cent of the amount the Company would currently earn on the same amount.  The interest provided for in the amended contract was not included in the adjustments to net income by the Commissioner and is not involved in the instant proceeding.Various plans for such an amendment were discussed between the committee and the Company's officials.  A 20-year period and a 15-year period were both discussed.  In order to give the desired flexibility which would make a contract amendment adaptable under such widely varying circumstances, it was agreed between the committee and the officials of the Company that an amendment providing that general agents might have an election to amend their contracts or to continue the standard contract without amendment, and providing (in the event of contract amendment) for the exercise of various options and elections by the general agents and for payment of stipulated *576  monthly installments over a period not to exceed 180 months, the amount of such monthly installment to be agreed upon between Northwestern and the general*177  agent. The committee requested Northwestern to formulate and offer a proposal along those lines and the Company's officials acceded to that request.  Thereafter the officials of the Company made a study based upon a set of tables compiled by the actuary of the Company known as the "Evans' Valuation Tables." The first category, Table A, estimated that of the total number of policies written in a given year 70 per cent of such policies would persist and continue to be in force at the end of 10 years.  The second category, Table B, estimated that 65 per cent of such policies would so persist and remain in force.  The third category, Table C, estimated that 50 per cent of such policies would so persist and remain in force.  The fourth category, Table D, estimated that 35 per cent of such policies would persist and remain in force.Since the amount which the general agent might receive after his retirement was conditioned upon persistency of future renewals and upon the future premiums paid by policyholders subsequent to the date of such retirement on policies written nine years or less prior to the general agent's retirement, there was no way for either the Company or the general agent*178  to know how much a general agent might receive subsequent to his retirement other than by estimation and approximation.  The Evans' Tables were developed to provide an actuarial method by which the general agents could calculate the value at date of retirement of all terminal commissions based on premiums payable after date of retirement. The Evans' Tables were predicated upon four different assumptions of persistency of renewal as stated in the letter quoted hereafter.  The actuarial value at retirement date of a general agent's possible terminal commissions varied according to the percentage of renewal persistency (Tables A, B, C, or D) estimated or assumed by the general agent himself.  Having arrived, by the use of the Evans' Tables, at the value at date of retirement of the possible terminal commissions, the general agent could more intelligently decide the amount and frequency of payments to provide for in the amendment to his contract than he could have without the help of the Evans' Tables.  The Evans' Tables were neither an assurance, a guaranty, nor a promise on the part of the Company of the payment of any amount as or in lieu of terminal commissions.Pursuant to their*179  agreement with the special committee, the officials of Northwestern worked upon the problem and became convinced that in order to solve the problem it would be necessary to find a formula which would be adaptable generally to the situations of all retiring general agents under the varying circumstances presented *577  by such cases and that to give such formula the flexibility necessary to meet the conditions arising in such a variety of cases certain basic predicates would have to be observed: (1) that the new contract should contain optional provisions from which a general agent might select the provisions best adapted to his case; (2) that a general agent should be allowed to continue under the then existing standard contract or be allowed to enter into an amended contract containing the option of his choice; (3) that the election to continue under the existing contract or under a new contract should be exercised and executed prior to the retirement date of the retiring general agent; and (4) that the election once so executed prior to the date of retirement should be irrevocable and binding upon him and upon the Company from and after the date of his retirement. Accordingly, *180  they formulated a proposed amendment as follows:AMENDMENT TO GENERAL AGENT'S CONTRACTCommissions After TerminationUpon the termination of this contract, the approximate amount of all commissions accrued or to accrue hereunder, which the General Agent shall be entitled to receive, except such portion of any first and/or renewal commission as is payable to an agent or agents under contract with General Agent, pursuant to the terms of such contracts, shall be determined by application of the Evans' Commission Valuation Table &nbsp;&nbsp;&nbsp; without interest, and the Company shall retain such renewal commissions in a Fund to which shall be credited interest annually on the balance in hand, at the rate currently used by the Company in computing the purchase price of immediate life annuities as certified by the Actuary of the Company.  Subject to the "Offset of Commissions" provision of this contract, and subject to the rights of any assignee, payments from such Fund to General Agent or to the personal representative of his estate shall be made in monthly instalments initially elected by General Agent until either, the Fund is exhausted, or until 180 instalments have been paid, first instalment*181  payable within 60 days after date of termination of this contract and monthly thereafter, but no such payment shall be less than 1/180th of the Fund, or more than the amount in the Fund at any time any instalment is payable.  In the event of the death of General Agent while receiving such payments, the remaining instalment payments or the amount in the Fund if less than such instalment, shall be paid in like instalments to the personal representative of his estate or to the person or persons entitled to receive the same.  At the expiration of 180 months any proceeds remaining in the Fund shall be paid in one sum.The officials of the Company submitted the proposed amendment to the special committee who approved it and agreed to recommend it to the General Agents' Association.  They then submitted it to the Insurance and Agency Committee of the Company, which committee spent considerable time in discussion and consideration of it and at length approved it.  Thereupon it was submitted for approval to the Executive Committee of the Company which is the highest Company authority.  The Executive Committee approved it on December 17, 1943, and directed that it be offered as a proposed amendment*182  at the *578  next convention of the General Agents' Association.  Accordingly, on March 6, 1944, a letter was sent to each general agent by the Company as follows:THE NORTHWESTERN MUTUAL LIFE INSURANCE COMPANYMilwaukee 2, Wis., March 6, 1944.To the General Agents: Realizing that present provisions of General Agents' Contracts relating to the payment of commissions after termination of the contract are not entirely satisfactory to many General Agents, the Company has been studying the subject with the object of developing an amendment to the contract relating to the mode of settlement which may be substituted for the present provisions at the option of any General Agent. We have finally agreed upon a plan which is now offered for your consideration.  A copy of the amendment is enclosed.In order to approximate the amount that will be paid to a General Agent during the ten years following termination of the contract, allowance must be made for the termination of insurance by death, surrender and lapse.  Tables with various termination rates have been constructed by Mr. Evans, Vice President and Actuary.  These tables are known as the Evans' Commission Valuation Tables.  *183  They are designated as A, B, C and D.  Considering the gross amount of premiums as 100%, the approximate proportion of the insurance that will renew in the tenth year is shown in the following tables:Table A -- 70%renews in 10th yearB -- 65%renews in 10th yearC -- 50%renews in 10th yearD -- 35%renews in 10th yearInstead of receiving commissions after termination of the contract as they accrue, the General Agent upon the adoption of the amendment will receive his entire commissions in monthly instalments in amounts to be designated by him, over a period of not more than 180 months.  To illustrate: If the present value under Table D is $ 90,000, the General Agent could elect to receive $ 500 a month for 180 months.  If he elects income for 120 months, the monthly instalments would be $ 750; or he may elect $ 600 a month for as long a period as there are sufficient funds in the possession of the Company, not exceeding 180 months.  Any balance at the end of 180 months would be paid in one sum.If this method of settlement is desired, the General Agent, prior to the termination of his contract, must request the Company to modify his contract accordingly. *184  He must also determine the amount of monthly income desired, the period during which it shall be paid and the Commission Valuation Table to be used to approximate the net amount of commissions payable.  If his commissions are assigned as collateral for loans or he is indebted to the Company, such indebtedness must be liquidated first.If commissions payable are not subject to indebtedness, they will be retained by the Company in a fund to which interest will be added annually at the rate currently used by the Company in computing the purchase price of immediate life annuities (current rate 2%).  If at any time the amount of the monthly instalment elected is greater than the amount in the fund, only the amount in the fund will be paid.If the General Agent dies during the settlement period, similar payments, or the amount then in the fund, if less, will be paid to the personal representative of his estate or to the person or persons entitled to receive them under the terms of his will, until the expiration of the period selected by the General *579  Agent. Such period shall not exceed 180 months, and if there is any balance in the fund when the last monthly payment is due*185  it will be then paid in one sum.Because this plan can and should be carefully integrated into the General Agent's insurance program and the distribution of his personal estate, it is vitally important that you consider it carefully and discuss it thoroughly with your personal attorney before requesting the Company to amend your contract so as to substitute it for the present provision.  * * ** * * *Yours cordially,(Signed) Grant L. Hill,Director of Agencies.The General Agents' Association met in convention in Chicago on March 14, 1944.  Practically all of the general agents of Northwestern were in attendance.  The proposed amendment was discussed on the floor of the convention and questions were propounded to the Company's officials who answered them.  Thereafter the convention unanimously approved the amendment offered by the Company.  Following the convention of the General Agents' Association about 75 per cent of the general agents executed the amendment proposed by the Company.  Among these were Hobart and Oates, the petitioners herein, each of whom executed amended contracts on April 27, 1944.  They had made their preparations to retire as of midnight on April 30, 1944, *186  but due to a delay in printing the Company had been unable to get the printed copies of the amended contracts until April 26, 1944.  The amended contracts were executed between them and the Company prior to their retirement as general agents.  The contract amendment executed by each of the petitioners was in the following terms:AMENDMENT TO GENERAL AGENT'S CONTRACTThe Northwestern Mutual Life Insurance Company.Milwaukee, Wisconsin.Effective as of the date hereof, I hereby request that the provisions of my General Agent's Contract with the Company dated July 9/1928, effective date July 2/1928 relating to the payment of all Commissions payable after termination of the contract be amended as follows: "Upon the termination of this contract, the approximate amount of all commissions accrued or to accrue hereunder, which the General Agent shall be entitled to receive, except such portion of any first and/or renewal commission as is payable to an agent or agents under contract with General Agent, pursuant to the terms of such contracts, shall be determined by application of the Evans' Commission Valuation Table C without interest, and the Company shall retain such commissions*187  in a Fund to which shall be credited interest annually on the balance in hand, at the rate currently used by the Company in computing the purchase price of immediate life annuities as certified by the Actuary of the Company.  Subject to the 'Offset of Commissions' provision of this contract, and subject to the rights *580  of any assignee, payments from such Fund to General Agent or to the personal representative of his estate shall be made in monthly instalments initially elected by General Agent prior to the termination of the contract but not thereafter, until either, the Fund is exhausted, or until 180 instalments have been paid, first instalment payable within 60 days after date of termination of this contract and monthly thereafter, but no such payment shall be less than 1/180th of the Fund, or more than the amount in the Fund at any time any instalment is payable.  In the event of the death of General Agent while receiving such payments, the remaining instalment payments or the amount in the Fund if less than such instalment, shall be paid in like instalments to the personal representative of his estate or to the person or persons entitled to receive the same.  At the expiration*188  of 180 months any proceeds remaining in the Fund shall be paid in one sum."Except as herein provided, this amendment shall in no wise limit or modify the terms and conditions of said Agency Contract dated July 9/1928, effective date July 2/1928.Executed in duplicate as of this 27 day of April, 1944.(Signed) James F. Oates,General Agent.Accepted this 28th day of April, 1944The Northwestern Mutual Life Insurance Company,By (Signed) Grant L. Hill,Director of Agencies.Each of these petitioners selected Evans' Table C and a monthly payment of $ 1,000.  They had a large agency with policies rating high in persistency and their election would tend to insure a level and secure income for the maximum period provided in the contract amendment.The contracts executed by and between these petitioners and Northwestern did not become effective until midnight of April 30, 1944, at which hour the petitioners were retired. Their amended contracts became operative at that moment.  Their contracts as thus amended on April 27, 1944, were the only contracts in existence between the petitioners and Northwestern at the time of their retirement, and the rights, duties, and liabilities*189  arising between the parties thereto in respect of terminal commissions from and after their retirement at midnight of April 30, 1944, were the rights, duties, and liabilities provided by the amended contract of April 27, 1944.  At the time of the retirement of the petitioners there was no amount due and owing from Northwestern to either of them in respect of terminal commissions, and there was no credit on Northwestern's books showing any amount due to either of them in respect of such commissions.Pursuant to the contract in force at the date of the retirement of the petitioners, the Company began to make payments in June 1944 of $ 1,000 per month to each of the petitioners.  These payments continued throughout the remainder of the year 1944 and throughout *581  the years 1945 and 1946.  Each petitioner duly included in his income tax returns for those years the full amount of such payments.After the retirement of the petitioners as general agents certain policyholders renewed their policies which had been written in the agency of Hobart &amp; Oates prior to April 30, 1944, and paid renewal premiums thereon.  Collection of all such renewal premiums was made by the general agents*190  who succeeded Hobart and Oates.  The successor general agents deducted a collection fee for this service and deposited the remainder of such collection in the bank account of the Company where it passed into the sole ownership and control of the Company.  After that, such amount was not subject to the demand or withdrawal of any person other than the Company.  Such renewal premiums when so deposited passed into the general funds of the Company where they were used by the Company for general purposes, operations and investment.The contract between the Company and the petitioners was not transferable and no rights or interests arising thereunder were subject to assignment except with the written consent of the Company.The balance sheet of Northwestern as submitted to certain state insurance commissions was prepared on an accrual basis and on this statement was included the balance of the accumulated deferred commissions in the account of Hobart &amp; Oates, as well as other retired agents.  The Hobart &amp; Oates account was a part of the memorandum records of Northwestern and the balance of deferred commissions as reflected by this account did not constitute a segregation from the other *191  assets of Northwestern.  The year end balance of the Hobart &amp; Oates account was included on the accrual basis balance sheet as a liability and it is consolidated with other liabilities, including the deferred commissions of other retired agents, into an account headed as follows: "Commissions to Agents Due or Accrued, Including Commissions Due on Premium Notes when Paid." A summary of the Hobart &amp; Oates account follows:Deferred terminal commissions and interest account underterminated general agency contractsCommissions accruedPeriodAmountMay 1, 1944-Dec. 13, 1944$ 47,174.98Dec. 14, 1944-Dec. 7, 194584,754.62Dec. 7, 1945-Dec. 6, 194665,858.80Dec. 9, 1946-Dec. 5, 194755,438.51Dec. 8, 1947-Dec. 7, 194843,135.87Dec. 8, 1948-Dec. 7, 194933,855.84Interest adjustment of$ 466.01Dec. 8, 1949-Dec. 7, 195026,313.77Deferred terminal commissions and interest account underterminated general agency contractsInstallment paidPeriodAmountMay 1, 1944-Dec. 31, 1944$ 14,000194524,000194624,000194724,000194824,000194924,000195024,000Deferred terminal commissions and interest account underterminated general agency contractsAccumulated deferred on depositPeriodPrincipalInterest dateInterestMay 1, 1944-Dec. 13, 1944$ 33,174.98Nov. 13, 1944$ 176.32Dec. 14, 1944-Dec. 7, 194593,929.60Nov. 7, 19451,486.78Dec. 7, 1945-Dec. 6, 1946135,788.40Nov. 7, 19463,827.67Dec. 9, 1946-Dec. 5, 1947167,226.91Nov. 7, 19476,900.94Dec. 8, 1947-Dec. 7, 1948186,362.78Nov. 5, 194810,510.15Dec. 8, 1948-Dec. 7, 1949196,218.62Dec. 7, 194914,549.63Interest adjustment of$ 466.01Dec. 31, 194915,015.64Dec. 8, 1949-Dec. 7, 1950198,532.39Dec. 31, 195019,440.49*192 *582   For the taxable years here involved petitioners reported in their taxable net income only the $ 1,000 per month actually received by them from Northwestern under the option selected.  Each petitioner received the amounts of $ 7,000, $ 12,000 and $ 12,000 during the respective taxable years.  In the notice of deficiency respondent determined that each petitioner should have included in his taxable income his one-half share of $ 47,174.98, $ 84,754.62, and $ 65,858.80 in the years 1944, 1945, and 1946, respectively.  These sums were the commissions which would have been due and payable to petitioners under the terms of the agency contract before the amendment herein discussed was added.Northwestern did not make available to the petitioners during the period here in question any amount in excess of $ 1,000 per month to each of them, and the petitioners did not receive income from Northwestern on account of terminal commissions subsequent to their retirement in any amount in excess of that reported by them in their income tax returns for 1944, 1945, and 1946, as such terminal commissions.The contract amendment which was executed on April 27, 1944, between the Company and these*193  petitioners was not suggested by these petitioners, nor was it developed and formulated by the Company for the particular benefit of these petitioners.  It was developed, formulated, and offered by the Company as a part of its general administrative policy in dealing with the entire group of its general agents.OPINION.Both petitioners reported their income on a cash receipts and disbursements basis and during the taxable years each petitioner reported in his net income the amount of terminal commissions received in cash from Northwestern, namely, $ 1,000 per month for 7 months in 1944, and $ 1,000 per month during all of 1945 and 1946.  Prior to the termination of their general agency contract with Northwestern, petitioners elected to defer under the terms of an amended contract until subsequent taxable years the receipt of a portion of the terminal commissions which would otherwise become due and payable to them under the terms of the old contract. During the years 1944, 1945, and 1946, the commissions so deferred under this amended contract amounted to $ 33,174.98, $ 60,754.62, and $ 41,858.80, respectively, and the respondent has determined these amounts to be income taxable*194  one-half to each petitioner in the respective taxable years in addition to the income which each petitioner reported on his return.The question presented here is whether the petitioners are taxable on only the $ 1,000 per month received by each petitioner under the agency contract, as amended, or are they taxable on the entire amount *583  of commissions which would have become due and payable under the terms of the old contract. Since petitioners, who were cash basis taxpayers, did not during the taxable years receive in cash the commissions in controversy they contend that respondent erred in determining that the deferred commissions constituted taxable income to them during the years 1944, 1945, and 1946.Respondent in determining that the full amount of the commissions here involved was taxable to petitioners whether actually received or not, stated in his deficiency notice:* * * This is in accordance with the provisions of sections 22 (a) and 42 of the Internal Revenue Code.  It is further held that the so-called Amendment of April 27, 1944 to your general agent's contract, which is an authorization to the insurance company to remit to you after retirement such renewal*195  commissions as you may be entitled to under that contract, in a certain manner, has no effect on the taxability of such income.Sections 22 (a) and 42 of the Code upon which the Commissioner relies are printed in the margin.  2In our findings of fact we have endeavored to give in considerable detail the facts with reference to the transactions with which we are here concerned and it is not necessary to repeat those facts.  A brief summary*196  of them will suffice.For a good many years the taxpayers had been general agents in Chicago for Northwestern.  Northwestern had an agreement with their general agents to pay them commissions on renewal premiums collected. As long as the general agents remained in active business the level of these commissions from year to year remained fairly constant.  This was because new business written by the general agency would fairly take the place of old business which might not be renewed, or where death intervened, of course, the premiums would stop.  However, when these general agents reached the retirement age and new business stopped coming in to them, the bulk of their renewal commissions would be collected in the first five years after retirement and along about the ninth year the collections would dwindle off to practically nothing.  Some of the retired agents who happened to live until reaching these lean years of retirement were left at times in distress.  So Northwestern, after considerable consultation and negotiation with its general agents working through their association, reached an agreement *584  whereby a plan was adopted so that when a general agent should retire*197  he might get his renewal commissions paid as under the old plan, or he might agree to have them spread over a certain number of years, not to exceed 15, receiving a certain amount of equal monthly payments.  This latter plan, having once been elected, could not be changed after the general agent's retirement.The petitioners herein when they retired elected to receive their renewal payments over a period of not to exceed 180 months at $ 1,000 per month.  In the taxable year 1944 each received $ 7,000, in 1945 each received $ 12,000, and in 1946 each received $ 12,000.  Each petitioner returned his full amount for taxation and has been taxed on it.  The Commissioner has added to these amounts the renewal premiums which he has determined were accrued to these two taxpayers during the three taxable years after deducting the amounts paid to them in cash.  It is undoubtedly true that at the time Hobart and Oates reached the retirement age as general agents of Northwestern they could have retained their rights under the old contract and had they done so would have received their renewal commissions in the years when collected by Northwestern and would have been taxable thereon in the year*198  of receipt.  However, under the arrangement which had been worked out by Northwestern and its general agents through their association, petitioners at the time of their retirement had the right to amend their contract so as to spread the term of payment of their commissions over a term of not to exceed 180 months, instead of the 9-year period as provided under the old contract. Oates and Hobart elected the latter method of payment.  At the time of their retirement nothing was due them on these renewal commissions.  Of course, it was well known judging from the past experience of Northwestern with its general agents that considerable amounts would be due Oates and Hobart as commissions out of these renewal premiums. How much would be due could not be definitely foreseen at the time of their retirement.Petitioners contend that being on the cash receipts basis, they would have to return as taxable income only the amounts which they actually received in each of the taxable years from Northwestern.  They strongly rely on our decisions in Kay Kimbell, 41 B. T. A. 940, and Howard Veit, 8 T.C. 809"&gt;8 T. C. 809. We think these two decisions*199  are in point in favor of petitioners' contentions.  In the Kimbell and Veit cases, both supra, an original contract had been made providing for future payments under a specific formula.  In both cases, prior to the time when such amounts were determined and prior to the time the taxpayer had acquired any right to receive them, the parties entered into new contracts which amended the terms of the preexisting contracts and the contract amendments were made before the date on which *585  definite rights had come into being under the prior contract.  There was a new agreement in each instance as to how the company would make payments in discharge of its liability if, as, and when such liability for payment arose.  In the Kimbell case, supra, we said:* * * The issue turns on the recognition to be given the second oral agreement * * *.  It is only by giving recognition to the first oral agreement * * * that the respondent has any semblance of reason for his determination * * *.  If the parties had a right to make the first oral agreement, they had a right to make the second, and our only concern is whether these agreements actually existed and were intended as real, *200  genuine, bona fide agreements between the parties.  The agreements are supported by uncontradicted testimony of reputable and credible witnesses.  * * * we know of no reason why * * * full legal effect should not be accorded the second oral agreement * * * which was entered into prior to the date that any of the * * * payments in question were to begin.  * * ** * * we think the question at issue is controlled by the second oral agreement, which we hold to be entirely valid, * * *.It is respondent's contention that the Kimbell and Veit cases, both supra, are distinguishable on their facts.  It is true, of course, that there are differences in the facts in those cases from the facts which we have in the instant case, but we think the principle which was involved in our decisions in the Kimbell and Veit cases was the same as we encounter in the instant case and we follow them and decide the issue which we have here in favor of the petitioners.  Cf.  J. D. Amend, 13 T. C. 178, appealed to Fifth Circuit and appeal dismissed by the Commissioner.  Respondent in contending that the amounts in question are taxable to petitioners under section*201  22 (a) largely relies on Lucas v. Earl, 281 U.S. 111"&gt;281 U.S. 111, Helvering v. Eubank, 311 U.S. 122"&gt;311 U.S. 122, and Helvering v. Horst, 311 U.S. 112"&gt;311 U.S. 112. We fail to see where those cases have any application here.  Those are cases where the income had been assigned to another and the taxpayer was contending that the assignment relieved him of taxation on the income and that the income was taxable to the one to whom it had been assigned.  We have no such question here.  Petitioners are making no contention that the commissions credited to their accounts by Northwestern in the taxable years will not be taxable to them if and when they receive them.  Their contention is that under their amended contracts which were signed prior to their retirement they were not entitled to receive any more than they did in fact receive and that being on the cash basis they can only be taxed on these amounts and that the remainder will be taxed to them if and when received by them.  For reasons already stated, we have sustained that contention.Decisions will be entered under Rule 50.  Footnotes1. Sometimes hereinafter referred to as Northwestern, and at other times as the Company.↩2. Sec. 22.  GROSS INCOME.(a) General Definition.  -- "Gross income" includes gains, profits, and income derived from salaries, wages, or compensation for personal service * * * of whatever kind and in whatever form paid * * *.Sec. 42.  PERIOD IN WHICH ITEMS OF GROSS INCOME INCLUDED.(a) General Rule.  -- The amount of all items of gross income shall be included in the gross income for the taxable year in which received by the taxpayer, unless, under methods of accounting permitted under section 41, any such amounts are to be properly accounted for as of a different period.  * * *↩